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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
           MICHAEL RICHARD ROISE,
 8                             Plaintiff,
 9              v.                                      C19-5001 TSZ

10         COMMISSIONER OF SOCIAL                       ORDER
           SECURITY,
11
                               Defendant.
12

13         Plaintiff’s unopposed Motion For Attorney Fees Pursuant to 42 U.S.C. § 406(b),

14 docket no. 19, is GRANTED. Plaintiff’s attorney , Nancy J. Meserow, Law Office of

15 Nancy J. Meserow, 7540 SW 51st Avenue, Portland, Oregon 97219, is awarded an

16 attorney fee of $24,655.63 pursuant to 42 U.S.C. § 406(b). Plaintiff’s attorney has

17 already received $13,183.45 under the Equal Access to Justice Act, leaving a remaining

18 fee of $11,472.18. Defendant is directed to send $11,472.18 to Plaintiff’s attorney, minus

19 any applicable processing fees as allowed by statute. After sending the attorney fee to

20 Plaintiff’s attorney, Defendant should release any remaining withheld funds directly to

21 Plaintiff.

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     ORDER - 1
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 1         IT IS SO ORDERED.

 2         Dated this 22nd day of November, 2021.

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                                                      A
                                                    Thomas S. Zilly
                                                    United States District Judge
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